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    STANDING ORDER REGARDING MOTIONS TO EXCEED THE PAGE
  LIMITATIONS OF THE FEDERAL RULES OF APPELLATE PROCEDURE


                                   Effective Immediately

PRESENT: McKEE, Chief Judge, and SLOVITER, SCIRICA, RENDELL, AMBRO,
FUENTES, SMITH, FISHER, CHAGARES, JORDAN, HARDIMAN, GREENAWAY,
JR, VANASKIE, ALDISERT, WEIS, GARTH, STAPLETON, GREENBERG,
COWEN, NYGAARD, ROTH, BARRY, and VAN ANTWERPEN, Circuit Judges


        AND NOW, it being noted that motions to exceed the page/word limitations for
briefs are filed in approximately twenty-five percent of cases on appeal, and that seventy-
one percent of those motions seek to exceed the page/word limitations by more than
twenty percent;

        Notice is hereby given that motions to exceed the page or word limitations for
briefs are strongly disfavored and will be granted only upon demonstration of
extraordinary circumstances. Such circumstances may include multi-appellant
consolidated appeals in which the appellee seeks to file a single responsive brief or
complex/consolidated proceedings in which the parties are seeking to file jointly or the
subject matter clearly requires expansion of the page or word limitations.

      Accordingly, it is ORDERED that a three-judge Standing Motions Panel is hereby
appointed to rule on all motions to exceed the page/word limitations for briefs since the
page/word limitations, prescribed by Fed. R. App. P. 32(a)(7), should be sufficient to
address all issues in an appeal.

        It is further ORDERED that Counsel are advised to seek advance approval of
requests to exceed the page/word limitations whenever possible or run the risk of
rewriting and refiling a compliant brief. Any request to exceed page/word limitations
submitted in the absence of such an advance request shall include an explanation of why
counsel could not have foreseen any difficulty in complying with the limitations in time
to seek advance approval from the panel.

       This order shall not apply to capital habeas cases.

                                                              By the Court,

                                                              /s/ Theodore A. McKee
                                                              Chief Judge
       Date: January 9, 2012
                       A True Copy :

                                                                                          A True Copy :



                                                                                                 Marcia M . Waldron, Clerk




                               Marcia M . Waldron, Clerk
